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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

    FRANKLIN D. AZAR &                                §
    ASSOCIATES, P.C.,                                 §
                                                      §
            Plaintiff,                                §
                                                      § Civil Action No.: 4:17-cv-00418-SDJ-KPJ
    v.                                                §
                                                      §
    JERRY L. BRYANT, et al.,                          §
                                                      §
            Defendants.                               §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On October 2, 2020, the Magistrate Judge entered proposed findings of fact and recommendations

  (the “Report”) (Dkt. 422) that Plaintiff Franklin D. Azar & Associates, P.C.’s Motion for Default

  Judgment Against Defendants Jerry L. Bryant, Brad Johnson, Tiffany Averitte, and Paseo

  Miramar, Inc (the “Motion”) (Dkt. 396) be granted. During a telephone conference on October 8,

  2020, Defendant Jerry Bryant acknowledged receipt of the Report. See Dkt. 425.

         Having received the Report of the United States Magistrate Judge, and no timely objections

  being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

  are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

         Accordingly, the Motion (Dkt. 396) is GRANTED.

         The Court ORDERS as follows:

                 1) Jerry Bryant is ORDERED to pay Plaintiff $750,000.00 in damages;

                 2) Tiffany Averitte is ORDERED to pay Plaintiff $1.00 in damages;


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                3) Brad Johnson is ORDERED to pay Plaintiff $1.00 in damages;

                4) The Court DECLARES that Paseo Miramar is the alter-ego of Jerry Bryant;

                5) It is ORDERED that Plaintiff may recover $894,846.83 in attorney’s fees

                   and litigation expenses against Jerry L. Bryant, Brad Johnson, and Tiffany

                   Averitte jointly and severally;
            .
                6) Plaintiff is statutorily entitled to post judgment interest and costs; and

                7) It is ORDERED that Plaintiff shall serve, by certified mail, Jerry L. Bryant,

                   Brad Johnson, Tiffany Averitte, and any other interested parties, with this

                   Memorandum Adopting Report and Recommendation of United States

                   Magistrate Judge. This service must be completed by November 12, 2020,

                   and the Court must receive notice of such service prior to entry of a Final

                   Judgment.

                 So ORDERED and SIGNED this 5th day of November, 2020.




                                                                    ____________________________________
                                                                    SEAN D. JORDAN
                                                                    UNITED STATES DISTRICT JUDGE




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